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                      6   MORNING VIEW HOTELS-BH I, LLC
                      7

                      8                               UNITED STATES DISTRICT COURT
                      9                             CENTRAL DISTRICT OF CALIFORNIA
                     10    Orlando Garcia,                          Case No. 2:20-CV-11232
                     11                            Plaintiff,       [L.A. Sup. Ct. Case No. 20STCV42107]
                     12                      vs.                    NOTICE OF REMOVAL OF
                                                                    DEFENDANT MORNING VIEW
                     13    Morning View Hotels-BH I, LLC, a         HOTELS-BH I, LLC
                     14    Delaware L:imited Liability Company;     [28 U.S.C. §§ 1331, 1367, 1441, and
                           and Does 1-10,                           1446]
                     15

                     16                            Defendants.
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                      1             TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                      2   DISTRICT OF CALIFORNIA, AND TO PLAINTIFF ORLANDO GARCIA
                      3   AND HIS ATTORNEYS OF RECORD:
                      4             PLEASE TAKE NOTICE THAT Defendant Morning View Hotels-BH I,
                      5   LLC (“Defendant”) hereby removes the above-entitled action from the Superior
                      6   Court of the State of California, for the County of Los Angeles, to this Court
                      7   pursuant to 28 U.S.C. sections 1331, 1367, 1441, and 1446. Removal is based on the
                      8   following grounds:
                      9                                 PROCEDURAL BACKGROUND
                     10             1.       On November 3, 2020, Plaintiff Orlando Garcia (“Plaintiff”) filed a
                     11   complaint against Defendant in the Superior Court of the State of California, County
                     12   of Los Angeles, Case No. 20STCV42107 alleging the following causes of action: (1)
                     13   violation of the Americans with Disabilities Act of 1990; and (2) violation of the
                     14   Unruh Civil Rights Act (“Complaint”).
                     15             2.       Plaintiff served his Complaint on Defendant on November 10, 2020.
                     16   Attached hereto as “Exhibit A” is a true and correct copy of Plaintiff’s Summons,
                     17   Complaint, Civil Case Cover Sheet and Addendum, Notice of Case Assignment, First
                     18   Amended General Order, and alternative dispute resolution information and related
                     19   documents that were served on Defendant. Exhibit A includes a Notice of Case
                     20   Management Conference that was not served on Defendant but that Defendant
                     21   obtained from the Los Angeles County Superior Court’s docket.
                     22             3.       On December 10, 2020, Defendant filed an Answer to Plaintiff’s
                     23   unverified Complaint in the Los Angeles County Superior Court. Attached hereto as
                     24   “Exhibit B” is a true and correct copy of Plaintiff’s Answer.
                     25             4.       Exhibits A and B constitute all process, pleadings, and orders that have
                     26   been filed in this action according to the Los Angeles County Superior Court’s
                     27   docket.

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                      1                                            TIMELINESS
                      2             5.       This Notice of Removal is timely filed, pursuant to 28 U.S.C. section
                      3   1446(b) because it is “filed within 30 days after the receipt by the defendant, through
                      4   service or otherwise, of a copy of the initial pleading setting forth the claim for relief
                      5   upon which such action or proceeding is based.” No previous Notice of Removal
                      6   has been filed or made with this Court for the relief sought.
                      7                            FEDERAL QUESTION JURISDICTION
                      8             6.       This Court has original jurisdiction over this civil action pursuant to 28
                      9   U.S.C. sections 1331 because district courts have “original jurisdiction of all civil
                     10   actions arising under the Constitution, laws, or treaties of the United States.” A
                     11   case generally “arises under” federal law when the complaint “establishes either that
                     12   federal law creates the cause of action or that the plaintiff’s right to relief necessarily
                     13   depends on resolution of a substantial question of federal law.” Franchise Tax Bd.
                     14   v. Construction Laborers Vacation Trust, 463 U.S. 1, 27-28; 103 S. Ct. 2841, 2847-
                     15   2848; 77 L. Ed. 2d 420, 431 (1983) (emphasis omitted) (superseded by statute on
                     16   other grounds). Indeed, a single claim over which federal question jurisdiction
                     17   exists is sufficient for removal. See Exxon Mobil Corp. v. Allapattah Services, Inc.,
                     18   545 U.S. 546, 563 (2005). Plaintiff’s action arises under the Americans with
                     19   Disabilities Act of 1990, codified as 42 U.S.C. §§ 12101 et seq., and thus, this action
                     20   is one over which this Court has original jurisdiction.
                     21             7.       The removal of this civil action is therefore proper under 28 U.S.C.
                     22   § 1441(a) because this is a civil action brought in state court over which the district
                     23   courts of the United States have original jurisdiction, and this District Court
                     24   embraces the place in which the state action is pending. Under the well-pled
                     25   complaint rule, a defendant may remove a case if the complaint establishes that the
                     26   case “arises under” federal law. See Franchise Tax Bd., 463 U.S. at 10.
                     27             8.       “[D]istrict courts shall have supplemental jurisdiction over all other

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                     28   claims that are so related to claims in the action within such original jurisdiction that
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                      1   they form part of the same case or controversy under Article III of the United States
                      2   Constitution.” 28 U.S. Code § 1367(a); City of Chicago v. Int’l Coll. of Surgeons,
                      3   522 U.S. 156, 163 (1997) (holding that when a district court has original jurisdiction
                      4   over claims arising under federal law, it will also have supplemental jurisdiction
                      5   over related state law claims). This Court has supplemental jurisdiction over the
                      6   single state law claim Plaintiff alleges because the state law claim is so related to
                      7   Plaintiff’s federal claim under the Americans with Disabilities Act that they form
                      8   part of the same case or controversy as Plaintiff’s federal claim, and all of Plaintiff’s
                      9   claims arise from the same “common nucleus of operative fact.” United Mine
                     10   Workers v. Gibbs, 383 U.S. 715, 725 (1966).
                     11             9.       “Because the Unruh Act has adopted the full expanse of the ADA, it
                     12   must follow, that the same standards for liability apply under both Acts.” Lentini v.
                     13   Cal. Ctr. for the Arts, Escondido, 370 F.3d 837, 847 (9th Cir. 2004) (citations and
                     14   quotation marks omitted).
                     15                   NO OTHER PARTIES NEED TO JOIN THIS REMOVAL
                     16             10.      All defendants who have been named in this lawsuit have signed this
                     17   Notice of Removal.
                     18                                               VENUE
                     19             11.      Venue is proper in this district, pursuant to 28 U.S.C. section 1441(a),
                     20   because the U.S. District Court for the Central District of California, Western
                     21   Division, is the judicial district and division embracing the place where the state
                     22   court case is pending.
                     23                                     NOTICE OF REMOVAL
                     24             12.      Defendant will promptly serve this Notice of Removal on Plaintiff and
                     25   will promptly file a copy of this Notice of Removal with the clerk of the Superior
                     26   Court of the State of California, for the County of Los Angeles, as required under 28
                     27   U.S.C. § 1446(d).

M ORGAN , L EWIS &
                     28             NOW THEREFORE, Defendant respectfully requests that this action be
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                      1   removed from the Superior Court of the State of California, for the County of Los
                      2   Angeles, to the United States District Court for the Central District of California,
                      3   and that all proceedings hereinafter in this matter take place in the United States
                      4   District Court for the Central District of California.
                      5    Dated: December 10, 2020               MORGAN, LEWIS & BOCKIUS LLP
                      6

                      7                                           By       /s/ Kathy H. Gao
                                                                       KATHY H. GAO
                      8                                                Attorneys for Defendant
                                                                       MORNING VIEW HOTELS-BH I, LLC
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                     1                                   PROOF OF SERVICE BY MAIL

                     2           I am a citizen of the United States and employed in Los Angeles County, California. I am
                         over the age of eighteen years and not a party to the within-entitled action. My business address
                     3   is 300 South Grand Avenue, Twenty-Second Floor, Los Angeles, CA 90071-3132. I am readily
                         familiar with this firm’s practice for collection and processing of correspondence for mailing with
                     4   the United States Postal Service.

                     5          On December 10, 2020, I placed with this firm at the above address for deposit with the
                         United States Postal Service a true and correct copy of the within document(s):
                     6
                                        NOTICE OF REMOVAL OF DEFENDANT MORNING
                     7                  VIEW HOTELS-BH I, LLC

                     8                  CIVIL CASE COVER SHEET

                     9   in a sealed envelope, postage fully paid, addressed as follows:
                    10
                         CENTER FOR DISABILITY ACCESS                        Attorneys for Plaintiff
                    11   Raymond Ballister Jr., Esq.
                         Russell Handy, Esq.
                    12
                         Amanda Seabock, Esq.
                    13   Zachary Best, Esq.
                         8033 Linda Vista Road, Suite 200
                    14   San Diego, CA 92111
                    15
                                Following ordinary business practices, the envelope was sealed and placed for collection
                    16   and mailing on this date, and would, in the ordinary course of business, be deposited with the
                         United States Postal Service on this date.
                    17
                                Executed on December 10, 2020, at Los Angeles, California.
                    18
                                  I declare under penalty of perjury under the laws of the State of California that the above
                    19   is true and correct.
                    20

                    21
                                                                                             Lucy Mata
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                  PROOF OF SERVICE
